DocuSign Envelope ID: 422EEC25-12C1-4286-80EB-9C0EE2B7EE9B
                          Case 23-11131-TMH            Doc 443-1        Filed 10/03/23       Page 1 of 11



                                        AMENDMENT NO. 3
             TO SENIOR SECURED SUPER PRIORITY DEBTOR IN POSSESSION LOAN AGREEMENT

                             This Amendment No. 3 (this “Amendment”) to the Senior Secured Super Priority Debtor
            in Possession Loan Agreement, dated as of August 9, 2023 (as amended, restated, supplemented or
            otherwise modified from time to time, the “Loan Agreement”) is made as of October 2, 2023, and is entered
            into by and among by and among AMYRIS, INC., a Delaware corporation (the “Parent”), each of the
            Subsidiaries of the Parent set out in Part 1 of Schedule 1 to this Amendment (together with the Parent, each,
            a “Borrower” and collectively, the “Borrowers”), the Subsidiaries of the Parent set out in Part 2 of Schedule
            1 to this Amendment (such other Subsidiaries of the Parent that are guarantors, each, a “Guarantor” and
            collectively, the “Guarantors” and, together with the Borrowers, each an “Obligor” and collectively, the
            “Obligors”), each lender from time to time party hereto (each, a “Lender” and collectively, the “Lenders”)
            and Euagore, LLC, in its capacity as Administrative Agent (the “Administrative Agent”).

                    WHEREAS, on August 9, 2023, the Parent and certain of its Subsidiaries filed voluntary petitions
            with the Bankruptcy Court initiating their respective cases under chapter 11 of the Bankruptcy Code and
            have continued in the possession of their assets and the management of their business pursuant to Section
            1107 and 1108 of the Bankruptcy Code;

                    WHEREAS, on August 9, 2023, the Obligors and the Lenders entered into the Loan Agreement to
            provide a super priority multiple-draw senior secured debtor-in-possession term loan credit facility (the
            “DIP Facility”), with all of the Borrowers’ obligations under the DIP Facility guaranteed by each Guarantor,
            and the Lenders agreed to extend the DIP Facility to the Borrowers on the terms and subject to the
            conditions set forth in the Loan Agreement;

                    WHEREAS, the Obligors and the Lenders have entered into Amendment No. 1 and Amendment
            No. 2 to the Loan Agreement, which modified, among other things, certain milestones in Section 7.25(d)
            of the Loan Agreement; and

                     WHEREAS, the Obligors have requested that the Administrative Agent and the Lenders further amend
            the Loan Agreement in certain respects, and the Administrative Agent and such Lenders are willing to do so,
            in each case, subject to the terms and conditions set forth herein,

                    NOW THEREFORE, in consideration of the premises and other good and valuable consideration,
            the receipt and sufficiency of which are hereby acknowledged, the parties to this Amendment agree as
            follows:

                            1.       Definitions. All terms used herein that are defined in the Loan Agreement and not
            otherwise defined herein shall have the meanings given to them in the Loan Agreement.

                               2.     Amendments and Consents. With effect from the Effective Date:

                                     (a)      the first paragraph of Section 7.25(d) (Certain Case Milestones) and
            clauses (1) and (2) of Section 7.25(d) are deleted and replaced with:

                             “(d)     no later than sixty four (64) calendar days following the Petition Date (i.e. October
                     12, 2023) (the “Plan Support Deadline”), the Debtors shall have executed a plan support agreement




            ACTIVE/125185925
DocuSign Envelope ID: 422EEC25-12C1-4286-80EB-9C0EE2B7EE9B
                          Case 23-11131-TMH            Doc 443-1        Filed 10/03/23       Page 2 of 11



                     (the “Plan Support Agreement”) by and among the Debtors, the Administrative Agent, the Lenders,
                     the Foris Prepetition Secured Lenders, and such other party- or parties-in-interest determined by
                     the Administrative Agent, the Required Lenders, and the Foris Prepetition Secured Lenders, in their
                     sole and absolute discretion, to be necessary and sufficient for the Administrative Agent, the
                     Lenders and the Foris Prepetition Secured Lenders to support a Chapter 11 Plan (collectively, the
                     “Plan Support Persons”), with such Plan Support Agreement being acceptable to the Administrative
                     Agent and the Foris Prepetition Secured Lenders in their sole discretion (the “Plan Support
                     Agreement Milestone”); provided that (x) the Debtors shall not file a motion to sell any Other
                     Amyris Assets on or prior to the Plan Support Deadline and (y) (A) if the Plan Support Agreement
                     Milestone Date occurs on or prior to the Plan Support Deadline, the Plan Support Agreement shall
                     include, and the Obligors shall achieve, each of the following Milestones:

                                     (1)      on the Plan Support Agreement Milestone Date (i.e. October 12, 2023),
                                              the Debtors shall file with the Bankruptcy Court a Chapter 11 Plan, a
                                              Disclosure Statement (each consistent with the Plan Support Agreement
                                              and in form and substance acceptable to the Administrative Agent), and a
                                              motion to approve the Plan, the Disclosure Statement and the related
                                              solicitation materials, dates and deadlines (the “Plan Filing Deadline”);

                                     (2)      no later than thirty-five (35) calendar days following the Plan Filing
                                              Deadline (i.e. November 16, 2023) (the “Disclosure Statement Hearing
                                              Order Deadline”), the Bankruptcy Court shall enter an order approving the
                                              Disclosure Statement, which order shall provide that the date upon which
                                              votes to accept or reject the Chapter 11 Plan must be submitted shall be no
                                              later than thirty-two (32) calendar days following the Disclosure
                                              Statement Hearing Order Deadline (i.e. December 18, 2023);”

                            3.       Representations and Warranties; No Event of Default.            Each Obligor hereby
            represents and warrants to the Administrative Agent and the Lenders that:

                                      (a)      the representations and warranties in Section 5 and in each other Loan
            Document, certificate or other writing delivered by or on behalf of the Obligors to the Administrative Agent
            or any Lender pursuant to any Loan Document on or before the Effective Date are true and correct in all
            material respects (except that such materiality qualifier shall not be applicable to any representations or
            warranties that already are qualified or modified as to “materiality” or “Material Adverse Effect” in the text
            thereof, which representations and warranties shall be true and correct in all respects subject to such
            qualification) on and as of the Effective Date as though made on and as of such date, except to the extent
            that any such representation or warranty expressly relates solely to an earlier date (in which case such
            representation or warranty shall be true and correct in all material respects (except that such materiality
            qualifier shall not be applicable to any representations or warranties that already are qualified or modified
            as to “materiality” or “Material Adverse Effect” in the text thereof, which representations and warranties
            shall be true and correct in all respects subject to such qualification) on and as of such earlier date), and no
            Default or Event of Default has occurred and is continuing as of the Effective Date or would result from
            this Amendment becoming effective in accordance with its terms;

                                      (b)      the execution, delivery and performance of this Amendment (i) are within
            its corporate, partnership, limited partnership or limited liability company power and do not contravene any
            provision of its organizational documents; (ii) have been duly authorized by all necessary or proper action
            of each Obligor; (iii) will not result in the creation or imposition of any Lien upon the Collateral, other than

                                                                  -2-
DocuSign Envelope ID: 422EEC25-12C1-4286-80EB-9C0EE2B7EE9B
                          Case 23-11131-TMH              Doc 443-1        Filed 10/03/23         Page 3 of 11



            Permitted Liens; (iv) do not violate (A) any Laws or regulations to which it or its Subsidiaries are subject,
            the violation of which would be reasonably expected to have a Material Adverse Effect or (B) any order,
            injunction, judgment, decree or writ of any Governmental Authority to which it or its Subsidiaries are
            subject; (v) do not conflict with, or result in the breach or termination of, constitute a default under or
            accelerate or permit the acceleration of any performance required by, any indenture mortgage, deed of trust,
            lease or agreement or other instrument, in each case, in respect of material Indebtedness to which it or its
            Subsidiaries is a party or by which it or its Subsidiaries or any of its property is bound; and (vi) do not
            violate any contract or agreement or require the consent or approval of any other Person or Governmental
            Authority which has not already been obtained. The individual or individuals executing this Amendment
            are duly authorized to do so. This Amendment has been duly executed and delivered on behalf of each
            Obligor party thereto; and

                                     (c)      this Amendment upon execution will constitute, a legal, valid and binding
            obligation of each Obligor party thereto, enforceable against each such Obligor in accordance with its terms,
            except as enforceability may be limited by applicable bankruptcy, insolvency, reorganization, moratorium
            or similar laws affecting the enforcement of creditors’ rights generally and by general equitable principles
            (whether enforcement is sought by proceedings in equity or at law).

                             4.      Conditions to Effectiveness. This Amendment shall become effective only upon
            the date (the “Effective Date”) on which the Administrative Agent and Required Lenders have received (or
            waived receipt of) the following documents and other evidence, each in form and substance satisfactory to
            them:this Amendment, signed by all Obligors party to it;

                                       (b)     the representations and warranties contained in Section 5 and in this
            Amendment shall be true and correct in all material respects (except that such materiality qualifier shall not
            be applicable to any representations or warranties that already are qualified or modified as to “materiality”
            or “Material Adverse Effect” in the text thereof, which representations and warranties shall be true and
            correct in all respects subject to such qualification) on and as of the Effective Date as though made on and
            as of such date, except to the extent that any such representation or warranty expressly relates solely to an
            earlier date (in which case such representation or warranty shall be true and correct in all material respects
            (except that such materiality qualifier shall not be applicable to any representations or warranties that
            already are qualified or modified as to “materiality” or “Material Adverse Effect” in the text thereof, which
            representations and warranties shall be true and correct in all respects subject to such qualification) on and
            as of such earlier date); and

                                     (c)   no Default or Event of Default shall have occurred and be continuing or
            shall result from this Amendment becoming effective in accordance with its terms.

                              5.       Reaffirmation. Each Obligor, as debtor, grantor, pledgor, guarantor, assignor, or in
            any other similar capacity in which such Person grants liens or security interests in its property or otherwise
            acts as accommodation party or guarantor, as the case may be, in each case, pursuant to any Loan Document,
            hereby (a) confirms, ratifies and reaffirms all of its payment and performance obligations, contingent or
            otherwise, under the Loan Agreement and each other Loan Document to which it is a party (after giving effect
            hereto), (b) confirms and agrees that each Loan Document to which it is a party is, and shall continue to be,
            in full force and effect and is hereby ratified and confirmed in all respects, except that on and after the Effective
            Date, all references in any such Loan Document to “the Loan Agreement”, the “Agreement”, “thereto”,
            “thereof”, “thereunder” or words of like import referring to the Loan Agreement shall mean the Loan
                                                                    -3-
DocuSign Envelope ID: 422EEC25-12C1-4286-80EB-9C0EE2B7EE9B
                          Case 23-11131-TMH            Doc 443-1       Filed 10/03/23       Page 4 of 11



            Agreement as amended by this Amendment, and (c) confirms and agrees that, to the extent that any Loan
            Document to which it is party purports to assign or pledge to the Administrative Agent, for the benefit of the
            Secured Parties, or to grant to the Administrative Agent, for the benefit of the Secured Parties, a security
            interest in or Lien on any Collateral as security for the Secured Obligations of the Obligors from time to time
            existing in respect of the Loan Agreement (as amended hereby) and the other Loan Documents, or otherwise
            guaranteed the Secured Obligations under or with respect to the Loan Documents, such guarantee, pledge,
            assignment and/or grant of the security interest or Lien is hereby ratified, reaffirmed and confirmed in all
            respects and confirms and agrees that such guarantee, pledge, assignment and/or grant of the security interest
            or Lien hereafter guarantees and secures all of the Secured Obligations as amended hereby. This Amendment
            does not and shall not affect any of the obligations of the Obligors, other than as expressly provided herein,
            including, without limitation, the Obligors’ obligations to repay the Advances in accordance with the terms
            of Loan Agreement or the obligations of the Obligors under any Loan Document to which they are a party,
            all of which obligations shall remain in full force and effect. Except as expressly provided herein, the
            execution, delivery and effectiveness of this Amendment shall not operate as a waiver of any right, power or
            remedy of the Administrative Agent or any Lender under any Loan Document, shall not constitute a waiver
            of any provision of any Loan Document, and shall not be construed as a substitution or novation of the Secured
            Obligations which shall remain in full force and effect.

                             6.       No Representations. Each Obligor hereby acknowledges that it has not relied on
            any representation, written or oral, express or implied, by the Administrative Agent or any Lender in entering
            into this Amendment.

                             7.      Miscellaneous.

                                   (a)     Sections 10.1 (Severability), 10.9 (Consent to Jurisdiction and Venue),
            10.10 (Mutual Waiver of Jury Trial) and 10.15 (Counterparts) are deemed incorporated into this
            Amendment with all necessary changes.

                                     (b)      Section and paragraph headings herein are included for convenience of
            reference only and shall not constitute a part of this Amendment for any other purpose. References to
            “Sections” are to sections of the Loan Agreement, unless otherwise stated.

                              (c)   EXCEPT TO THE EXTENT GOVERNED BY THE BANKRUPTCY
            CODE, THIS AGREEMENT SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
            WITH, THE LAW OF THE STATE OF NEW YORK APPLICABLE TO CONTRACTS MADE AND TO
            BE PERFORMED IN THE STATE OF NEW YORK WITHOUT GIVING EFFECT TO THE CONFLICT
            OF LAWS PROVISIONS THEREOF (OTHER THAN SECTION 5-1401 AND 5-1402 OF THE NEW
            YORK GENERAL OBLIGATIONS LAW).

                                     (d)      Each Obligor hereby acknowledges and agrees that this Amendment is a
            “Loan Document”.

                                      (e)     With respect to any Obligor, this Amendment is subject in all respects
            (including with respect to all obligations and agreements of the Obligors provided for hereunder) to the
            terms of the Interim Order (and, when applicable, the Final Order) and if any provision in this Amendment
            expressly conflicts or is inconsistent with any provision in the Interim Order or Final Order, the provisions
            in the applicable DIP Order shall govern and control.

                                                                 -4-
DocuSign Envelope ID: 422EEC25-12C1-4286-80EB-9C0EE2B7EE9B
                          Case 23-11131-TMH            Doc 443-1       Filed 10/03/23       Page 5 of 11



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                                                                 -5-
DocuSign Envelope ID: 422EEC25-12C1-4286-80EB-9C0EE2B7EE9B
                          Case 23-11131-TMH            Doc 443-1    Filed 10/03/23     Page 6 of 11




                           IN WITNESS WHEREOF, the parties hereto have caused this Amendment to be executed
           and delivered as of the date set forth on the first page hereof.

                                                              COMPANIES:

                                                              AMYRIS, INC., a Delaware corporation

                                                              By:
                                                              Name: Han Kieftenbeld
                                                              Title: Interim Chief Executive Officer and Chief
                                                              Financial Officer


                                                              AMYRIS CLEAN BEAUTY, INC., a Delaware
                                                              corporation

                                                              By:
                                                              Name: Han Kieftenbeld
                                                              Title: Chief Financial Officer


                                                              APRINNOVA, LLC, a Delaware limited liability
                                                              company

                                                              By:
                                                              Name: Han Kieftenbeld
                                                              Title: Chief Financial Officer


                                                              AB TECHNOLOGIES LLC, a Delaware limited
                                                              liability company

                                                              By:
                                                              Name: Han Kieftenbeld
                                                              Title: Chief Financial Officer


                                                              AMYRIS FUELS, LLC, a Delaware limited liability
                                                              company

                                                              By:
                                                              Name: Han Kieftenbeld
                                                              Title: Chief Financial Officer




                                                              -6-
DocuSign Envelope ID: 422EEC25-12C1-4286-80EB-9C0EE2B7EE9B
                          Case 23-11131-TMH            Doc 443-1    Filed 10/03/23      Page 7 of 11



                                                              AMYRIS-OLIKA, LLC, a Delaware limited liability
                                                              company

                                                              By:
                                                              Name: Han Kieftenbeld
                                                              Title: Chief Financial Officer


                                                              ONDA BEAUTY INC., a Delaware corporation

                                                              By:
                                                              Name: Han Kieftenbeld
                                                              Title: Chief Financial Officer


                                                              UPLAND 1 LLC, a Delaware limited liability
                                                              company

                                                              By:
                                                              Name: Han Kieftenbeld
                                                              Title: Chief Financial Officer


                                                              AMYRIS- ECOFAB LLC, a Delaware limited
                                                              liability company

                                                              By:
                                                              Name: Han Kieftenbeld
                                                              Title: Chief Financial Officer


                                                              CLEAN BEAUTY 4U HOLDINGS, LLC, a
                                                              Delaware limited liability company

                                                              By:
                                                              Name: Han Kieftenbeld
                                                              Title: CEO & President


                                                              AMYRIS CLEAN BEAUTY LATAM LTDA., a
                                                              Brazilian limited liability company

                                                              By:
                                                              Name: Daniel Moreira
                                                              Title: Legal Director

                                                              By:
                                                              Name: Claudia Marina Nohara
                                                              Title: Chief Financial Officer


                                                              -7-
DocuSign Envelope ID: 422EEC25-12C1-4286-80EB-9C0EE2B7EE9B
                          Case 23-11131-TMH            Doc 443-1    Filed 10/03/23     Page 8 of 11



                                                              INTERFACES INDUSTRIA E COMERCIO DE
                                                              COSMETICOS LTDA., a Brazilian limited liability
                                                              company

                                                              By:
                                                              Name: Claudia Marina Nohara
                                                              Title: Chief Financial Officer

                                                              By:
                                                              Name: Daniel Moreira
                                                              Title: Legal Director

                                                              AMYRIS BIOTECNOLOGIA                   DO BRASIL
                                                              LTDA., a Brazilian limited liability company

                                                              By:
                                                              Name: Claudia Marina Nohara
                                                              Title: Chief Financial Officer

                                                              By:
                                                              Name: Daniel Moreira
                                                              Title: Legal Director

                                                              AMYRIS EUROPE TRADING B.V.
                                                              (NETHERLANDS), a Netherlands limited liability
                                                              company

                                                              By:
                                                              Name: Luca Galantucci
                                                              Title: Director

                                                              AMYRIS BIO PRODUCTS PORTUGAL,
                                                              UNIPESSOAL, LDA., a Portugal liability company

                                                              By:
                                                              Name: Shannon Griffin
                                                              Title: Director

                                                              BEAUTY LABS INTERNATIONAL LIMITED, a
                                                              United Kingdom limited company

                                                              By:
                                                              Name: Luca Galantucci
                                                              Title: Director

                                                              AMYRIS UK TRADING LIMITED, a United
                                                              Kingdom limited company

                                                              By:
                                                              Name: Luca Galantucci
                                                              Title: Director
                                                              -8-
DocuSign Envelope ID: 422EEC25-12C1-4286-80EB-9C0EE2B7EE9B
                          Case 23-11131-TMH            Doc 443-1     Filed 10/03/23    Page 9 of 11



                                                               CLEAN BEAUTY 4U LLC, a
                                                               Delaware limited liability company

                                                               By: Amyris, Inc.
                                                               Its: Manager

                                                               By:
                                                               Name: Han Kieftenbeld
                                                               Title: Interim CEO and Chief Financial Officer


                                                               CLEAN BEAUTY COLLABORATIVE, INC. a
                                                               Delaware corporation


                                                               By:
                                                               Name: Caroline Hadfield
                                                               Title: Chief Executive Officer &
                                                               President



                                                                   ADMINISTRATIVE AGENT:

                                                                   EUAGORE, LLC, a Delaware limited liability
                                                                   company

                                                                   By:
                                                                   Name: Barbara S. Hager
                                                                   Title: Manager


                                                               LENDER:

                                                                   EUAGORE, LLC, a Delaware limited liability
                                                                   company

                                                                   By:
                                                                   Name: Barbara S. Hager
                                                                   Title: Manager




            ACTIVE/125185925
             Case 23-11131-TMH   Doc 443-1     Filed 10/03/23      Page 10 of 11




                                             CLEAN BEAUTY 4U LLC, a
                                             Delaware limited liability company


                                             By:
                                             Name:
                                             Title:


                                             CLEAN BEAUTY COLLABORATIVE, INC. a
                                             Delaware corporation


                                             By:
                                             Name:
                                             Title:



                                             ADMINISTRATIVE AGENT:

                                             EUAGORE, LLC, a Delaware limited liability
                                             company

                                             By:
                                             Name: Barbara S. Hager
                                             Title: Manager


                                             LENDER:

                                             EUAGORE, LLC, a Delaware limited liability
                                             company

                                             By:
                                             Name: Barbara S. Hager
                                             Title: Manager




ACTIVE/125185925
DocuSign Envelope ID: 422EEC25-12C1-4286-80EB-9C0EE2B7EE9B
                         Case 23-11131-TMH            Doc 443-1         Filed 10/03/23   Page 11 of 11




                                                             Schedule 1
                                                               Part 1

                                                             Borrowers
            1. Amyris, Inc., a Delaware corporation

            2. Amyris Clean Beauty, Inc., a Delaware corporation

            3. Aprinnova, LLC, a Delaware limited liability company

                                                               Part 2

                                                             Guarantors
            1. AB Technologies LLC, a Delaware limited liability company

            2. Amyris Fuels, LLC, a Delaware limited liability company

            3. Amyris-Olika, LLC, a Delaware limited liability company

            4. Onda Beauty Inc., Delaware corporation

            5. Upland 1 LLC, a Delaware limited liability company

            6. Amyris Eco-Fab LLC, a Delaware limited liability company

            7. Clean Beauty 4U Holdings, LLC, a Delaware limited liability company

            8. Clean Beauty 4U LLC, a Delaware limited liability company

            9. Clean Beauty Collaborative, Inc., a Delaware corporation

            10. Amyris Clean Beauty LATAM Ltda., a Brazil limited liability company

            11. Interfaces Industria e Comercio de Cosmeticos Ltda., a Brazil limited liability company

            12. Amyris Biotecnologia Do Brasil Ltda., a Brazil limited liability company

            13. Amyris Europe Trading B.V. (Netherlands), a Netherlands limited company

            14. Amyris Bio Products Portugal, Unipessoal, Lda., a Portugal limited company

            15. Beauty Labs International Limited, a United Kingdom limited company

            16. Amyris UK Trading Limited, a United Kingdom limited company




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